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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 LEAGUE OF WOMEN VOTERS OF                     )
 PENNSYLVANIA et al.,                          )
                                               ) Civil Action No.: 2-20-CV-03850
                Plaintiffs,                    )
                                               )
        v.                                     ) Judge Petrese B. Tucker
                                               )
 KATHY BOOCKVAR et al.,                        )
                                               )
                Defendants.                    )


             THE REPUBLICAN COMMITTEES’ MOTION TO INTERVENE

       Intervenor-Defendants Donald J. Trump for President, Inc., the Republican Party of

Pennsylvania, the Republican National Committee, and the National Republican Congressional

Committee (collectively, the “Republican Committees”), by and through their undersigned

counsel, respectfully request, pursuant to Rule 24 of the Federal Rules of Civil Procedure, to

intervene as defendants in the above-captioned proceeding for the purpose of participating in the

disposition of the proceeding. In support of this Motion, the Republican Committees submit the

accompanying Memorandum of Law. Additionally, Republican Committees attach as Exhibit 1

the Answer and Affirmative Defenses they would file if permitted to intervene in this matter.

       WHEREFORE, the Republican Committees respectfully request that the Court GRANT

this motion and permit the Republican Committees to intervene as defendants in this proceeding.
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Dated: September 1, 2020           Respectfully submitted,

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                                   Counsel for Proposed Intervenor-Defendants
                                   Donald J. Trump for President, Inc.,
                                   the Republican Party of Pennsylvania,
                                   the Republican National Committee, and
                                   the National Republican Congressional Committee

                                   *Pro hac vice motion forthcoming




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 LEAGUE OF WOMEN VOTERS OF                     )
 PENNSYLVANIA, et al.,                         )
                                               ) Civil Action No.: 2-20-CV-03850
                Plaintiffs,                    )
                                               )
        v.                                     ) Judge Petrese B. Tucker
                                               )
 KATHY BOOCKVAR, et al.,                       )
                                               )
                Defendants.                    )

                                    [PROPOSED] ORDER

       AND NOW, this ____ day of ________________, 2020, upon consideration of the Motion

to Intervene filed by Donald J. Trump for President, Inc., the Republican National Committee, the

Republican Party of Pennsylvania, and the National Republican Congressional Committee

(collectively, the “Republican Committees”), it is hereby ORDERED, ADJUDGED, and

DECREED that the Motion is GRANTED. The Republican Committees are permitted to intervene

in this matter as defendants, and shall file their Answer and Affirmative Defenses within five (5)

days of the date of this Order.



                                                    ___________________________________
                                                    Honorable Petrese B. Tucker
                                                    United States District Judge
